 8:17-cr-00127-RFR-MDN             Doc # 38     Filed: 10/26/17     Page 1 of 1 - Page ID # 73



                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,

                      Plaintiff,                                       8:17CR127

       vs.
                                                                         ORDER
ROBERTO CERVANTES-ZAVALA and CARLOS
RAMOS

                      Defendant.



       This matter is before the court on the Defendant Ramos’ Motion to Continue Trial [36].
Counsel is in on-going plea negotiations with the government and seeks additional time to
resolve this matter. Defendant has complied with NECrimR 12.1(a). For good cause shown,

       IT IS ORDERED that the defendant’s Motion to Continue Trial [36] is granted as
follows:

     1. The jury trial, as to both defendants, now set for October 31, 2017 is continued to
December 5, 2017.

      2. The defendant has filed an affidavit required by paragraph 9 of the progression order
and NE.CrimR 12.1(a) forthwith.

         3. In accordance with 18 U.S.C. § 3161(h)(7)(A), the court finds that the ends of justice
will be served by granting this continuance and outweigh the interests of the public and the
defendant in a speedy trial. Any additional time arising as a result of the granting of this motion,
that is, the time between today’s date and December 5, 2017 shall be deemed excludable time
in any computation of time under the requirement of the Speedy Trial Act. Failure to grant a
continuance would deny counsel the reasonable time necessary for effective preparation, taking
into account the exercise of due diligence. 18 U.S.C. § 3161(h)(7)(A) & (B)(iv).

       Dated this 26th day of October, 2017.

                                               BY THE COURT:

                                               s/ Michael D. Nelson
                                               United States Magistrate Judge
